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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              PECOS DIVISION



UNITED STATES OF AMERICA,

                   Plaintiff,

v.                                               CRIM. NO. PE:22-CR-00427-DC

LITSSON ANTONIO PEREZ-GALLAN,

                     Defendant.


                                  NOTICE OF APPEAL

       Pursuant to 18 U.S.C. § 3731, the United States of America hereby gives notice that

it appeals the district court’s November 10, 2022, Order granting the Defendant’s motion

to dismiss the indictment (Doc. No. 55) to the United States Court of Appeals for the Fifth

Circuit.

                                                 Respectfully submitted,

                                                 ASHLEY C. HOFF
                                                 UNITED STATES ATTORNEY

                                          By:
                                                 Assistant United States Attorney




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                           CERTIFICATE OF SERVICE

      I hereby certify that on November 15, 2022, I filed this document with the Clerk of

the Court, using the CM/ECF filing system, which will cause a copy of the document to be

delivered to counsel for defendant, Shane O’Neal.


                                               Assistant United States Attorney




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